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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff                  CR. NO. 17-20439
v.
                                               HON. LAURIE J. MICHELSON
LAWRENCE DAVIS,

                    Defendant.
                                           /

                  MOTION TO WITHDRAW AS COUNSEL

      NOW COMES Counsel, Andrew Densemo, of the Federal Defender Office,

Detroit, Michigan, for Defendant, LAWRENCE DAVIS, and moves this Honorable

Court, pursuant to Local Rule 57.1, to withdraw as counsel for Defendant. Counsel

files a supporting Brief and further states:

      1.     On June 1, 2017 the Federal Defender Office was appointed by the Court

at Defendant's initial appearance on an Indictment charging him with a violation of

21 U.S.C. §841(a)(1) and (b)(c), Distribution of a Controlled Substance with Death

Resulting.   At that time, undersigned Counsel was assigned to represent the

Defendant.

      2.     Since that time, the undersigned counsel has represented Mr. Davis.

      3.     During the course of my representation of Mr. Davis I have met with him

on several occasions.
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      4.     At this point in time there has been a breakdown in the attorney-client

relationship to the extent that new counsel needs to be appointed to represent Mr.

Davis.

      5.     Counsel believes there has been a complete breakdown of the attorney-

client relationship required for effective assistance of counsel under the Sixth

Amendment of the U.S. Constitution, and that there exist irreconcilable conflicts

between Defendant and his Counsel such that withdrawal of Counsel is warranted.

      6.     The Federal Defender Office can promptly obtain a panel attorney to

represent the Defendant.

      7.     Substitution of counsel is in the best interests of Defendant and serves

the ends of justice.

      WHEREFORE, Defense Counsel respectfully requests that he be allowed to

withdraw due to a complete and total breakdown in the attorney-client relationship.

                                             Respectfully submitted,

                                             FEDERAL DEFENDER OFFICE


                                             s/Andrew Densemo
                                             ANDREW DENSEMO (P37583)
                                             Attorney for Defendant
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                                             Detroit, Michigan 48226
                                             Phone: (313) 967-5829
                                             E-mail: andrew_densemo@fd.org
Dated: November 6, 2017

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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                 Plaintiff               CR. NO. 17-20439
v.
                                         HON. LAURIE J. MICHELSON
LAWRENCE DAVIS,

                 Defendant.
                                     /

                      BRIEF IN SUPPORT OF
                 MOTION TO WITHDRAW AS COUNSEL
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                                           I.

       Defendant made his initial appearance on an Indictment on June 1, 2017. At

that time, the Federal Defender Office was appointed to represent Defendant and

present Counsel was assigned to the case. Counsel has met numerous times with the

Defendant to discuss his case, including the discovery, sentencing guidelines,

potential defenses, plea offers, and risks of proceeding to trial. Defense Counsel has

also filed pre-trial motions on behalf of Mr. Davis. Mr. Davis and his Counsel’s

relationship has deteriorated to the point where both parties believe that Defense

Counsel should be relieved from further representation of Mr. Davis. There has been

a complete breakdown in the attorney-client relationship such that irreconcilable

conflicts now exist. Therefore, Counsel feels that it is in the best interests of justice

that he withdraw and a panel attorney be appointed to represent the Defendant.

Obviously, Mr. Davis will need an attorney who he is confident in and with whom he

will communicate and work with to ensure that he is properly represented as this case

goes forward. It is in Mr. Davis’s best interest that another attorney be appointed to

represent him who can zealously advocate the position Mr. Davis feels is in his best

interest.

                                           II.

       Rule 57.1 of the Local Rules of the United States District Court for the Eastern

District Of Michigan provides:
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             (b)   An attorney who has appeared in a criminal case
                   may thereafter withdraw only by written motion
                   served upon the defendant personally or at the
                   defendant’s last-known address and upon all other
                   parties. The Court may deny a motion to withdraw
                   if the attorney’s withdrawal would unduly delay trial
                   of the case, or be unfairly prejudicial to any party, or
                   otherwise not be in the interest of justice.

      An irreconcilable conflict in the attorney-client relationship is good cause to

warrant substitution of counsel and comports with the tenets of the Sixth Amendment

right to effective assistance of counsel. Wilson v. Mintzes, 761 F.2d 275 (6th Cir.

1985).

                                         III.

      For the foregoing reasons, Counsel requests this Honorable Court allow him

to withdraw from representation of Mr. Davis.

                                                Respectfully submitted,

                                                FEDERAL DEFENDER OFFICE


                                                s/Andrew Densemo
                                                ANDREW DENSEMO (P37583)
                                                Attorney for Defendant
                                                613 Abbott, 5th Floor
                                                Detroit, Michigan 48226
                                                Phone: (313) 967-5829
                                                E-mail: andrew_densemo@fd.org

Dated: November 6, 2017

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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff                  CR. NO. 17-20439
v.
                                              HON. LAURIE J. MICHELSON
LAWRENCE DAVIS,

                   Defendant.
                                         /

                         CERTIFICATE OF SERVICE

      I hereby certify that on November 6, 2017, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send notification

of such filing to the following: MARK BILKOVIC, Assistant United States

Attorney, 211 W. Fort Street, Suite 2001, Detroit, Michigan 48226, e-mail:

mark.bilkovic@usdoj.gov, and I hereby certify that I have mailed by United States

Postal Service the paper to the following non-ECF participant(s): LAWRENCE

DAVIS, USM No. 55656-039, FDC Milan, Federal Detention Center, P.O. Box 1000,

Milan, Michigan 48160.

                                              Respectfully submitted,

                                              FEDERAL DEFENDER OFFICE

                                              s/Andrew Densemo
                                              ANDREW DENSEMO (P37583)
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